12-12171-reg       Doc 105     Filed 06/15/12 Entered 06/15/12 18:01:35         Main Document
                                            Pg 1 of 7



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and the Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- x
In re:                                                     : Chapter 11
                                                           :
HOUGHTON MIFFLIN                                           : Case No. 12-12171 (REG)
HARCOURT PUBLISHING COMPANY, et al                         :
                                                           : Jointly Administered
                                       Debtors.            :
-------------------------------------- x

      FINAL DECLARATION OF PETER WALSH OF KURTZMAN CARSON
 CONSULTANTS LLC REGARDING THE MAILING, VOTING AND TABULATION
 OF BALLOTS ACCEPTING AND REJECTING THE PREPACKAGED CHAPTER 11
     PLAN OF REORGANIZATION FOR HOUGHTON MIFFLIN HARCOURT
                   PUBLISHING COMPANY, ET AL.

         I, Peter Walsh, declare and state under the penalty of perjury:

         1.     I am a Senior Managing Consultant employed by Kurtzman Carson Consultants,

LLC (the “Voting Agent”), whose business address is 599 Lexington Avenue, 39th Floor, New

York, NY 10022. I am over the age of 18 and not a party to this action.

         2.     I and others under my supervision worked with Houghton Mifflin Harcourt

Publishing Company, Houghton Mifflin Harcourt Publishers Inc., HMH Holdings (Delaware),

Inc., HMH Publishers LLC, and its affiliated debtors and debtors in possession (collectively, the

“Debtors” or the “Company”) and counsel to the Debtors to solicit votes to accept or reject the
12-12171-reg      Doc 105     Filed 06/15/12 Entered 06/15/12 18:01:35            Main Document
                                           Pg 2 of 7




Prepackaged Joint Plan of Reorganization of the Debtors Under Chapter 11 of the Bankruptcy

Code, dated May 11, 2012 (the “Plan”) and to tabulate the ballots of creditors voting to accept or

reject the Plan. Except as otherwise noted, I could and would testify to the following based upon

my personal knowledge. I am authorized to submit this Declaration on behalf of the Voting

Agent.

         3.     The Voting Agent has considerable experience in soliciting and tabulating votes

to accept or reject proposed prepackaged plans of reorganization.

                         SERVICE AND TRANSMITTAL OF
              SOLICITATION PACKAGES AND THE TABULATION PROCESS


         4.     The Debtors established May 10, 2012, as the record date (the “Voting Record

Date”) for determining which creditors were entitled to vote on the Plan. Pursuant to the Plan,

holders of claims in Class 3 (First Lien Bank Claims), Class 3 (10.5% Note Claims) and Class 8

(Existing Common Stockholders) (the “Voting Classes”) were entitled to vote to accept or reject

the Plan. No other classes were entitled to vote on the Plan.

         5.     With respect to the Class 3 First Lien Bank Claims, the Voting Agent relied on a

list of holders provided by the Debtor for the Administrative Agent under the First Lien Bank

Agreement as of the Voting Record Date to identify the holders of claims entitled to vote to

accept or reject the Plan. For the Class 3 10.5% Note Claims, the Voting Agent relied on

security position reports provided by the Depository Trust Company (“DTC”) as of the Voting

Record Date to identify the holders of 10.5% Notes entitled to vote to accept or reject the Plan.

For the Class 8 Existing Common Stockholders, the Voting Agent relied on list of holders



                                                 2
12-12171-reg     Doc 105      Filed 06/15/12 Entered 06/15/12 18:01:35            Main Document
                                           Pg 3 of 7




provided by the Debtor for Computershare, the transfer agent, as of the Voting Record Date to

identify the holders of Common Stock entitled to vote to accept or reject the Plan.

       6.      In accordance with the solicitation procedures as set forth in the Debtors’ Motion

for an Order (I) Scheduling a Combined Hearing to Consider (A) the Approval of (1) the

Debtors’ Disclosure Statement and (2) the Debtors’ Prepetition Solicitation Procedures; and (B)

Confirmation of the Debtors’ Prepackaged Plan; and (II) Approving the Form of Notice of the

Combined Confirmation Hearing and Disclosure Statement Hearing, filed contemporaneously

herewith, the Voting Agent served the following solicitation package to the holders of claims in

the Voting Classes as of the Voting Record Date:

       (a)     the appropriate form of Ballot and instructions for completing the ballot (the
               “Ballot”);

       (b)     a pre-addressed return envelope;

       (c)     the Disclosure Statement with all exhibits; and

       (d)     the Plan


       7.      All ballots cast by holders of Class 3 First Lien Bank Claims were required to be

delivered to the Voting Agent, so as to be received by the Voting Agent no later than May 18,

2012 at 5:00 p.m. (prevailing Eastern Time) (the “Class 3 First Lien Bank Claims Voting

Deadline”). The Voting Agent previously filed a Vote Declaration (Docket No. 17) on May 21,

2012 reflecting a summary of voting results for all voting classes as of the Class 3 First Lien

Bank Claims Voting Deadline.

       8.      All ballots cast by holders of Class 3 10.5% Note Claims and Class 8 Existing

Common Stockholders were required to be delivered to the Voting Agent, or the Nominee, as

                                                  3
12-12171-reg      Doc 105     Filed 06/15/12 Entered 06/15/12 18:01:35              Main Document
                                           Pg 4 of 7




applicable, so as to be received by the Voting Agent no later than June 11, 2012 at 5:00 p.m.

(prevailing Eastern Time) (the “Voting Deadline”).

        9.     The Voting Agent received and tabulated the ballots as follows: (a) each returned

ballot was opened and/or inspected at the Voting Agent’s office; (b) ballots were date-stamped;

and (c) all ballots received were then tabulated. In order for a ballot to be counted as valid, it had

to contain sufficient information to permit the identification of the holder, be signed, and indicate

an acceptance or rejection of the Plan.

        10.    Attached as Exhibit A is a summary of the voting results for all voting classes as

of the Voting Deadline.

        11.    To the best of my knowledge, information and belief, the foregoing information

concerning the distribution, submission, and tabulation of Ballots in connection with the Plan is

true.




                                                  4
12-12171-reg   Doc 105   Filed 06/15/12 Entered 06/15/12 18:01:35   Main Document
                                      Pg 5 of 7
12-12171-reg   Doc 105   Filed 06/15/12 Entered 06/15/12 18:01:35   Main Document
                                      Pg 6 of 7



                                 Exhibit A
                                                          12-12171-reg   Doc 105   Filed 06/15/12 Entered 06/15/12 18:01:35       Main Document
                                                                                                Pg 7 of 7
                                                                                                Exhibit A
                                                                                             Vote Summary


                                                                    %        %                                                                                      %        %
 Class     Class      Total  Members Members Members Members Members Members           Total $/Shares    Total $/Shares       $/Shares        $/Shares $/Shares $/Shares $/Shares Members $ Amount/Shares
 Name    Description Members  Voted  Accepted Rejected Abstained Accepted Rejected        in Class           Voted            Accepted        Rejected Abstained Accepted Rejected Opt-Out    Opt-Out


         First Lien
 Class 3 Bank Claims    166      125      125         0      0      100.00%   0.00%   $2,806,566,303.10 $2,714,834,082.46 $2,714,834,082.46    $0.00    $0.00   100.00%   0.00%      0           0


         10.5% Notes
 Class 3 Claims         n/a      44        44         0      0      100.00%   0.00%    $300,000,000.00   $255,190,000.00   $255,190,000.00     $0.00    $0.00   100.00%   0.00%      3       17,750,000

         Existing
         Common
 Class 8 Stockholders   108      93        93         0      0      100.00%   0.00%     283,636,235         271,364,472      271,364,472         0        0     100.00%   0.00%      2        3,775,326




Houghton Mifflin Harcourt Publishing Company, et al
Case No. 12-12171 (REG)                                                                       Page 1 of 1
